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                 Exhibit A
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1                                          2021 MAY 13 09:25 AM
                                               KING COUNTY
2                                         SUPERIOR COURT CLERK
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                                          CASE #: 21-2-06348-5 SEA
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6
                                   STATE OF WASHINGTON
7                               KING COUNTY SUPERIOR COURT
8    STATE OF WASHINGTON,                               NO.
9                                Plaintiff,             COMPLAINT FOR INJUNCTIVE AND
                                                        OTHER RELIEF
10       v.
11   LANDMARK TECHNOLOGY A, LLC
12                               Defendant.
13

14            The Attorney General of the State of Washington brings this action in the name of the

15   State, or as parens patriae on behalf of persons residing in the State, to enforce the provisions
16   of the Washington Consumer Protection Act, RCW ch. 19.86 (CPA) and the Patent Troll
17   Prevention Act, RCW ch. 19.350 (PTPA).
18                                       I.    INTRODUCTION
19            1.1    Defendant Landmark Technology A, LLC (“LTA”) is a patent-assertion entity
20   (PAE). PAEs enforce patent rights, rather than investing in development or commercializatio n.
21   Abusive PAEs—popularly called “patent trolls”—assert patents in bad faith, targeting smaller
22   companies that cannot afford protracted litigation, and demanding payment of licensing fees.
23   Patent trolls typically assert patents ex post facto, after the companies they target have
24   independently invented or begun using a technology allegedly covered by a patent, and
25   frequently only after it has become ubiquitous in the industry. Although patent trolls rarely
26   succeed on patent infringement claims in court, the vast majority of disputes end in settlements

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1    because patent litigation is costly and disruptive for defendants, and patent trolls often offer to

2    settle for amounts well below litigation costs to make the business decision to settle an obvious

3    one. Commentators have argued, and studies have found, that patent trolls are a burden on

4    productive companies and do not promote innovation.

5           1.2     LTA’s business model is bad faith patent assertion. Over a recent 18-month

6    period, LTA issued 1,892 separate patent assertion demand letters to 1,176 different target

7    companies in 48 states. In its demand letters, LTA relies upon U.S. Patent No. 7,010,508 (“the

8    ‘508 patent”), issued in 2006 on the basis of a 1995 application to the Patent and Trademark
9    Office (PTO). In 2014, the PTO found, in a contested matter, that the ‘508 patent “does not recite
10   a technological feature that is novel and unobvious over the prior art, and is therefore not a
11   technological invention.” Ebay Enter., Inc. Petitioner v. Lawrence B. Lockwood Patent Owner,
12   2014 WL 2150045 (Patent Tr. & App. Bd. May 20, 2014). In other words, it is invalid. LTA
13   nevertheless asserts the patent at a shocking rate, issuing an average of 24 demands per week.
14   LTA primarily targets customer log-in pages on company websites, but has also demanded
15   license fees for webpages containing privacy practices, shopping carts, products for sale, and
16   company home pages. In short, any business with a web presence is a potential target for LTA.
17   While absurd on its face that LTA has patented all company websites, individual businesses lack
18   the resources needed to combat LTA’s extortive demands.

19          1.3     In 2015, the Washington Legislature enacted the PTPA specifically to combat

20   predatory patent troll activity. Legislative findings concerning the purpose of the PTPA are set

21   forth in the Act:

22          The legislature finds that abusive patent litigation, and especially the assertion of
            bad faith infringement claims, can harm Washington’s economy. A person or
23          business that receives a demand asserting such claims faces the threat of
            expensive and protracted litigation and may determine that it has no choice but to
24
            settle and to pay a licensing fee, even if the claim is meritless. This is especially
25          so for small and medium-sized entities and nonprofits lacking adequate resources
            to investigate and defend themselves against the infringement claims. Not only
26          do bad faith patent infringement claims impose a significant burden on individua l

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1           Washington businesses and other entities, they also undermine Washington’s
            efforts to attract and nurture information technology and knowledge-based
2           businesses. Resources expended to avoid the threat of bad faith litigation are no
3           longer available to invest, develop and produce new products, expand, or hire
            new workers, thereby harming Washington’s economy. Through this legislation,
4           the legislature seeks to protect Washington’s economy from abusive and bad faith
            assertions of patent infringement, while not interfering with federal law or
5           legitimate patent enforcement actions.
6    RCW 19.350.005.

7           1.4     LTA’s bad faith assertions of patent infringement violate the PTPA, which is a

8    per se violation of the CPA. In addition, LTA’s bad faith demands, and misleading and deceptive

9    statements included in its demand letters, violate the CPA directly.

10                                          II.     PARTIES

11          2.1     The Consumer Protection Division of the Attorney General’s Office brings this

12   action in the name of the State of Washington, or as parens patriae on behalf of persons residing

13   in the state. RCW 19.86.080, .085; RCW 19.350.030.

14          2.2     Defendant Landmark Technology A, LLC (LTA) is a North Carolina registered

15   company with its principal place of business in North Carolina. The sole member of LTA is

16   Raymond Mercado, a North Carolina resident.

17                              III.    JURISDICTION AND VENUE

18          3.1     The Attorney General is authorized by statute to bring suit to enforce the CPA

19   and the PTPA. RCW 19.86.080(1); 19.350.030.

20          3.2     This Court has personal jurisdiction        over Defendant LTA pursuant to

21   RCW 19.86.160, RCW 4.28.180, and RCW 4.28.185, because LTA has purposely availed itself

22   of the privilege of conducting business in the State of Washington, including sending letters to

23   Washington resident businesses asserting patent infringement,               entering into licensing

24   agreements with Washington resident businesses, and availing itself of courts within the State

25   of   Washington    to   assert complaints     for   patent infringement.        The     violations    of

26   RCW chapters 19.86 and 19.350 alleged herein arise from or are connected with these

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1    transactions. Exercise of personal jurisdiction over LTA comports with traditional notions of fair

2    play and substantial justice, and jurisdiction is not inconsistent with the United States

3    Constitution or the Washington State Constitution.

4            3.3      LTA has engaged in the conduct set forth in this Complaint in King County and

5    elsewhere in the state of Washington.

6            3.4      Venue is proper in King County pursuant to RCW 4.12.020 and 4.12.025, Civil

7    Rule 82, and Local Civil Rule 82 because LTA sent demand letters asserting patent infringement

8    to businesses in Seattle, Washington, and entered into licensing agreements with businesses in
9    Seattle, Washington.
10                                            IV.     FACTS
11   A.      Patent Assertion Activity
12           1.       Demand Letters

13           4.1      Between January 11, 2019, and July 24, 2020, LTA sent numerous letters

14   asserting that business entities had engaged in patent infringement (“demand letters”). The

15   recipients of such demand letters (“target companies”) are located in 48 states of the United

16   States, including Washington State.

17           4.2      Upon information and belief, LTA has continued to send demand letters after
18   July 24, 2020.
19           4.3      LTA’s demand letters do not contain factual allegations relating to the specific
20   target company webpage(s) that it alleges infringe. Rather, LTA utilizes form letters, containing
21   identical infringement allegations, which it has issued to more than 1,000 different companies.
22   Only the name of the target company and the URL of the allegedly infringing webpage changes
23   from letter to letter.
24           4.4      LTA utilizes three different form demand letters. The first LTA form demand
25   letter (“form demand letter A”) is addressed to a target company, contains the subject line
26   “Infringement of Landmark Technology A, LLC’s Patent Rights” and provides as follows

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1    (substituting NAME for the name of each target company and WEBPAGE for the allegedly

2    infringing webpage):

3                   We are intellectual property counsel for Landmark Technology A, LLC
            (“Landmark”). Landmark has exclusive rights to patents covering certain special-
4           purpose computer, communication and network technologies relating to Internet
            searching, e-commerce, electronic bill pay, business-to-business transactions,
5           multimedia data processing networks and mobile technologies. Landmark’s
6           widely regarded patented technology covers, among other things, special-purpose
            hardware and software systems supporting key transaction processes and features
7           used in many electronic commerce systems, including structures which exchange
            business data amongst trading partners.
8
                    Landmark’s patents have been licensed to over 200 companies across
9           various industries. Landmark’s patents rank extremely high in patent citing
            activity and have been cited nearly 200 times by the USPTO whereas the average
10
            patent has only five citations during its lifetime. Highly cited patents are generally
11          known to be of greater technical importance, and even fewer rise to the level of
            “pioneer patents” achieved by the Landmark patents.
12
                    Landmark believes that NAME automated multimedia data processing
13          network systems, particularly WEPAGE through practices U.S. Patent No.
            7,010,508 C1 (“’508 Patent”). You will find that the ‘508 Patent teaches and
14          claims automated multimedia data processing network for processing business
15          and financial transactions between entities from remote sites. This includes data
            processing systems wherein a computerized installation acts on inquiries and
16          orders from stations [as do NAME’s servers], communicates with stations which
            use program instructions and act as the user interface [as do those devices
17          interfaced to NAME’s web servers in communication with NAME’s servers],
            sequences are retrieved in a forwardly/backwardly chained response (as defined
18
            by the inventor) to data entered into a text input field [as seen in devices interfaced
19          to NAME’s web servers], and data is updated in a computerized installation
            storage [as per the functionality of NAME’s web servers]. For example, the
20          specific functionalities implemented by NAME using their servers and devices
            interfaced to NAME’s web servers constitutes use of the technology taught
21          within the meaning of Claim 1 of the ‘508 patent.
22                   Landmark is currently offering NAME a non-exclusive license to its ‘508
23          patent, for $65,000. This offer represents a substantial discount to the historic
            licensing price of Landmark’s portfolio, and will not be available in the event of
24          litigation.

25

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1                  We appreciate your attention to this matter and request a response within
            15 days of this letter. Please contact me at the phone or email above, or contact
2           my colleague, Jennifer Ishimoto, at ishimoto@banishlaw.com or (650) 241-2773.
3           4.5      Form demand letter A is printed on the letterhead of Banie & Ishimoto LLP,
4    3705 Haven Ave. #137, Menlo Park, CA 94025, and signed by John A. Lee, Partner, Banie &
5    Ishimoto LLP.
6           4.6      The second LTA form demand letter (“form demand letter B”), like form demand
7    letter A, is addressed to a target company, contains the subject line “Infringement of Landmark
8    Technology A, LLC’s Patent Rights” and provides as follows (substituting NAME for the name
9    of each target company and WEBPAGE for the allegedly infringing webpage):
10
                    More than a year ago, Landmark Technology, LLC first brought to your
11          attention its understanding that NAME data processing systems practice U.S.
            Patent No. 6,289,319 C2 (“’319 Patent”).
12
                    In that first notice, we introduced ourselves as intellectual property
13          counsel for Landmark Technology, LLC (“Landmark”). Landmark has exclusive
            rights to patents covering certain special-purpose computer, communication and
14          network technologies relating to Internet searching, e-commerce, electronic bill
15          pay, business-to-business transactions, multimedia data processing networks and
            mobile technologies. Landmark’s widely regarded patented technology covers,
16          among other things, special-purpose hardware and software systems supporting
            key transaction processes and features used in many electronic commerce
17          systems, including structures which exchange business data amongst trading
            partners.
18
                     In that first notice we also pointed out that Landmark has licensed its
19
            patents to over 200 companies across various industries. Landmark’s ‘319 patent
20          ranks extremely high in patent citing activity and has been cited nearly 200 times
            by the USPTO whereas the average patent has only five citations during its
21          lifetime. Highly cited patents are generally known to be of greater technical
            importance, and even fewer rise to the level of “pioneer patents” achieved by the
22          Landmark patents. The ‘319 patent has also been reexamined twice resulting in
23          all original claims being confirmed.

24                   Having not received a response from NAME, Landmark sent a subsquent
            [sic] letter reaffirming its offer of a non-exclusive license to its ‘319 patent for
25          $65,000.

26

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1                  Since our last communication, Landmark Technology A, LLC, has
            assumed all substantial rights under the '508 patent and has furthered its analysis
2           and discovered that while indeed NAME data processing systems practices
3           Landmark’s U.S. Patent No. 6,289,319 C2 that NAME multimedia data
            processing systems, particularly WEBPAGE practices Landmark’s U.S. Patent
4           No. 7,010,508 C1 (“’508 Patent”)

5                   You will find that the ‘508 Patent teaches and claims multimedia data
            processing systems for processing business and financial transactions between
6           entities from remote sites. This includes multimedia data processing systems
            wherein a computerized installation [as NAME’s servers], communicate with
7
            terminals which use program instructions and act as the user interface [as do those
8           devices interfaced to NAME’s web servers in communication with NAME’s
            servers], sequences are retrieved in response to data entered [as seen in devices
9           interfaced to NAME’s web servers], and data is updated in central processor
            storage [as per the functionality of NAME’s web servers]. For example, the
10          specific functionalities implemented by NAME using their servers and devices
            interfaced NAME’s web servers constitutes use of the technology taught within
11
            the meaning of Claim 1 of the ‘508 patent.
12
                   We appreciate your attention to this matter and request a response within
13          15 days of this letter. Please contact me at the phone or email above, or contact
            my colleague, Jennifer Ishimoto, at ishimoto@banishlaw.com or (650) 241-2773.
14

15          4.7    Form demand letter B, like form demand letter A, is printed on the letterhead of

16   Banie & Ishimoto LLP, 3705 Haven Ave. #137, Menlo Park, CA 94025, and signed by John A.

17   Lee, Partner, Banie & Ishimoto LLP.

18          4.8    The third LTA form demand letter (“form demand letter C”), like form demand

19   letters A and B, is addressed to a target company, contains the subject line “Infringement of

20   Landmark Technology A, LLC’s Patent Rights” and provides as follows (substituting NAME

21   for the name of each target company PRIOR DATE for the date of a prior demand letter sent to

22   the same target company, and FUTURE DATE for the date by which LTA demands a response):

23                  In PRIOR DATE, Landmark offered a non-exclusive license to its ‘508
            patent for $65,000. Since that time, Landmark Technology A, LLC, has assumed
24
            all substantial rights under the ‘508 patent. A month has elapsed and NAME has
25          not responded.

26

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1                   The current amount for a non-exclusive license to the ‘508 patent
            expires FUTURE DATE. Please contact me as soon as possible.
2

3           4.9     Form demand letter C, like form demand letters A and B, is printed on the

4    letterhead of Banie & Ishimoto LLP, 3705 Haven Ave. #137, Menlo Park, CA 94025, and signed

5    by John A. Lee, Partner, Banie & Ishimoto LLP.

6           January 2019

7           4.10    On or about January 11, 2019, LTA sent form demand letter A to 15 target

8    companies located in Arizona, California, Florida, Iowa, Massachusetts, Nebraska, New Jersey,

9    New York, Ohio, Oklahoma, Pennsylvania, and Tennessee, and form letter C to 18 target

10   companies located in California,      Connecticut, Florida,   Illinois,   Indiana, New Jersey,

11   New Mexico, New York, Ohio, Pennsylvania, and Washington.

12          4.11    On or about January 18, 2019, LTA sent form demand letter A to 15 target

13   companies located in California, Connecticut, Iowa, Massachusetts, Michigan, Minnesota, New

14   Jersey, New York, Ohio, Pennsylvania, Utah and form letter C to 10 target companies located in

15   Arizona, Connecticut, Illinois, Kentucky, New York, Ohio, Pennsylvania, and Tennessee.

16          4.12    On or about January 25, 2019, LTA sent form demand letter A to 15 target

17   companies located in Arizona, California, Connecticut, Iowa, Illinois, Louisiana, Massachusetts,

18   New Jersey, New York, Ohio, Pennsylvania, Utah, and Wisconsin, and form letter C to 14 target

19   companies located in Arizona, California, Florida, Illinois, Mississippi, North Carolina, New

20   Jersey, New York, Utah and Wisconsin.

21          4.13    In total, LTA sent 87 demand letters in January 2019.

22          February 2019

23          4.14    On or about February 1, 2019, LTA sent form demand letter A to 15 target

24   companies located in California, Florida, Iowa, Louisiana, Massachusetts, New Jersey,

25   New York, Ohio, Pennsylvania, Tennessee, Virginia and Wisconsin.

26

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1           4.15     On or about February 8, 2019, LTA sent form demand letter A to 15 target

2    companies located in California, Florida, Iowa, Illinois, Louisiana, Massachusetts, Nebraska,

3    New Jersey, New York, South Dakota and Tennessee, form demand letter B to four target

4    companies located in California, Georgia, Missouri, and Virginia, and form demand letter C to

5    10 target companies located in Arizona, California Iowa, Massachusetts, Nebraska, New Jersey,

6    New York and Ohio.

7           4.16     On or about February 15, 2019, LTA sent form demand letter A to 18 target

8    companies located in Arizona, California, Colorado, Connecticut, Florida, Illinois, Indiana,
9    Massachusetts Michigan, Missouri, Nevada, New York, Pennsylvania, and Virginia, form
10   demand letter B to five target companies located in California, Colorado, Montana, New York
11   and Tennessee, and form demand letter C to 14 target companies located in California, Iowa,
12   Illinois, Massachusetts, Michigan, Minnesota, New Jersey, New York, Pennsylvania, Tennessee,
13   and Utah.
14          4.17     On or about February 22, 2019, LTA sent form demand letter A to 16 target
15   companies located in Arizona, California, Georgia, Idaho, Illinois, Michigan, Missouri,
16   North Carolina, New Jersey, New York, Pennsylvania, Rhode Island and South Carolina form
17   demand letter B to five target companies located in California, Florida, Michigan, and North
18   Carolina, and form demand letter C to 13 target companies located in Arizona, California,

19   Connecticut, Iowa, Illinois, Louisiana, Massachusetts, New Jersey, New York, Pennsylvania and

20   Wisconsin.

21          4.18     In total, LTA sent 115 demand letters in February 2019.

22          March 2019

23          4.19     On or about March 1, 2019, LTA sent form demand letter A to 18 target

24   companies located in Arkansas, Arizona, California, Florida, Georgia, Illinois, Indiana,

25   Kentucky,     Massachusetts, Michigan,     North Carolina,    New Hampshire,        New York,

26   Pennsylvania, Virginia, and Vermont, form demand letter B to five target companies located in

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1    California, Florida, Illinois, and North Carolina, and form demand letter C to 14 target

2    companies located in California, Florida, Iowa, Louisiana, Massachusetts, New Jersey,

3    New York, Pennsylvania, Tennessee, Virginia, and Wisconsin.

4           4.20    On or about March 7, 2019, LTA sent form demand letter A to 18 target

5    companies located in California, Colorado, Florida, Georgia, Illinois, Indiana, Louisiana,

6    Minnesota, Missouri, North Carolina, New York, Oklahoma, and Virginia, form demand

7    letter B to five target companies located in Indiana, Kentucky, Maine, Pennsylvania and

8    Washington, and form demand letter C to 12 target companies located in Arizona, California,
9    Florida, Iowa, Illinois, Louisiana, Massachusetts, New York, South Dakota, and Tennessee.
10          4.21    On or about March 15, 2019, LTA sent form demand letter A to 18 target
11   companies located in California, Florida, Georgia, Illinois, Indiana, Kansas, Massachusetts,
12   Maryland, Michigan, Minnesota, Missouri, North Dakota, New York, and Wisconsin form
13   demand letter B to five target companies located in California, Connecticut, Michigan,
14   New York and Pennsylvania, and form demand letter C to 18 target companies located in
15   Arizona, California, Colorado, Connecticut, Florida, Illinois, Indiana, Massachusetts, Michigan,
16   Missouri, Nevada, New York, Pennsylvania, and Virginia.
17          4.22    On or about March 22, 2019, LTA sent form demand letter A to 18 target
18   companies located in California, Florida, Illinois, Kansas, Massachusetts, Maryland, Michigan,

19   Minnesota, Missouri, New Jersey, New York, Pennsylvania, and Rhode Island form demand

20   letter B to five target companies located in California, New York, and Pennsylvania, and form

21   demand letter C to 15 target companies located in Arizona, California, Georgia, Idaho, Illino is,

22   Michigan, North Carolina, New Jersey, New York, Pennsylvania, Rhode Island, and

23   South Carolina.

24          4.23    On or about March 29, 2019, LTA sent form demand letter A to 18 target

25   companies located in Alabama, California, Florida, Illinois, Louisiana, Massachusetts,

26   Minnesota, Missouri, New Jersey, New York, Pennsylvania, South Carolina, and Wisconsin,

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1    form demand letter B to five target companies located in Arizona, California, Illinois, New York,

2    and Utah, and form demand letter C to 18 target companies located in Arkansas, Arizona,

3    California,    Florida,   Georgia,   Illinois,   Indiana,   Kentucky,    Massachusetts, Michigan,

4    North Carolina, New Hampshire, New York, Pennsylvania, Virginia, and Vermont.

5            4.24     In total, LTA sent 192 demand letters in March 2019.

6            April 2019

7            4.25     On or about April 12, 2019, LTA sent form demand letter A to 18 target

8    companies located in California, Florida, Hawaii, Illinois, Indiana, Kentucky, Michigan,
9    Minnesota, Missouri, New Jersey, New York, Pennsylvania, Utah, Vermont, and Wisconsin,
10   form demand letter B to 5 target companies located in California, Massachusetts, New Jersey,
11   New York, and Tennessee, and form demand letter C to 18 target companies located in
12   California, Florida, Georgia, Illinois, Indiana, Kansas, Massachusetts, Maryland, Michigan,
13   Minnesota, Missouri, North Dakota, New York, and Wisconsin.
14           4.26     On or about April 19, 2019, LTA sent form demand letter A to 18 target
15   companies located in California, Colorado, Florida, Georgia, Illinois, Massachusetts, Michigan,
16   Minnesota, Missouri, New Hampshire, New Jersey, New York, Pennsylvania, Utah, and
17   Wisconsin, form demand letter B to five target companies located in California, Maryland, and
18   New York, and form demand letter C to 17 target companies located in California, Florida,

19   Illinois, Kansas, Massachusetts, Maryland. Michigan, Minnesota, Missouri, New Jersey, New

20   York, Pennsylvania, and Rhode Island.

21           4.27     On or about April 24, 2019, LTA sent form demand letter C to 18 target

22   companies located in Alabama, California, Florida, Illinois, Louisiana, Massachusetts,

23   Minnesota, Missouri, New Jersey, New York, Pennsylvania, South Carolina, and Wisconsin.

24           4.28     On or about April 26, 2019, LTA sent form demand letter A to 15 target

25   companies located in Alabama, California, Florida, Illinois, Kentucky, Maryland, New Jersey,

26

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1    New York, Pennsylvania, Utah, Virginia, and Wisconsin, and form demand letter B to 6 target

2    companies located in Georgia Minnesota, New Jersey, and New York.

3           4.29    In total, LTA sent 120 demand letters in April 2019.

4           May 2019

5           4.30    On or about May 3, 2019, LTA sent form demand letter B to five target companies

6    located in Connecticut, Massachusetts, New York, Pennsylvania, and Wisconsin, and form

7    demand letter C to 18 target companies located in California, Florida, Hawaii, Illinois, Kentucky,

8    Louisiana, Minnesota, Missouri, North Carolina, New Jersey, New York, Pennsylvania,
9    Virginia, and Wisconsin.
10          4.31    On or about May 10, 2019, LTA sent form demand letter B to five target
11   companies located in Colorado, Massachusetts, Missouri, and New York, and form demand
12   letter C to 18 target companies located in California, Florida, Hawaii, Illinois, Indiana, Kentucky,
13   Michigan, Minnesota, Missouri, New Jersey, New York, Pennsylvania, Utah, Vermont, and
14   Wisconsin.
15          4.32    On or about May 17, 2019, LTA sent form demand letter B to five target
16   companies located in New Hampshire, New York, Tennessee, and Wisconsin, and form demand
17   letter C to 15 target companies located in California, Colorado, Florida, Massachusetts,
18   Michigan, Minnesota, Missouri, New Hampshire, New Jersey, New York, Pennsylvania,

19   Virginia, and Wisconsin.

20          4.33    On or about May 24, 2019, LTA sent form demand letter B to five target

21   companies located in Kansas, New Jersey, Pennsylvania, Vermont, and Wisconsin.

22          4.34    On or about May 31, 2019, LTA sent form demand letter B to five target

23   companies located in Colorado, Michigan, North Carolina, and New York.

24          4.35    In total, LTA sent 76 demand letters in May 2019.

25

26

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1           June 2019

2           4.36   On or about June 7, 2019, LTA sent form demand letter B to five target companies

3    located in Minnesota, North Carolina, New York, and Wisconsin, and form demand letter C to

4    14 target companies located in Alabama, California, Florida, Illinois, Kentucky, Maryland,

5    New Jersey, New York, Pennsylvania, Virginia, and Wisconsin.

6           4.37   On or about June 14, 2019, LTA sent form demand letter A to 10 target companies

7    located in Alabama, California, Hawaii, Maryland, Minnesota, Missouri, New York, and

8    Wisconsin, and form demand letter B to five target companies located in California, Colorado,
9    North Carolina, Pennsylvania, and Virginia.
10          4.38   On or about 21, 2019, LTA sent form demand letter A to 15 target companies
11   located in California, Connecticut, Florida, Maryland, Maine, Michigan, Minnesota, Missouri,
12   North Carolina, New York, Ohio, Pennsylvania, Wisconsin, and form demand letter B to four
13   target companies located in Connecticut, Louisiana, New Hampshire, and New York.
14          4.39   On or about June 28, 2019, LTA sent form demand letter A to 18 target companies
15   located in Alabama, California, Colorado, Florida, Iowa, Maryland, Maine, Michigan,
16   Minnesota, Nebraska, Nevada, New York, Ohio, Pennsylvania, Tennessee, and Wisconsin, and
17   form demand letter B to five target companies located in California, Florida, Minnesota,
18   New York, and Virginia.

19          4.40   In total, LTA sent 76 demand letters in June 2019.

20          July 2019

21          4.41   On or about July 5, 2019, LTA sent form demand letter A to 18 target companies

22   located in California,     Connecticut,   Florida,   Illinois,   Maryland, Minnesota, Missouri,

23   North Carolina, New York, Ohio, Oklahoma, Pennsylvania, Virginia, Vermont, and Wisconsin,

24   and form demand letter B to five target companies located in Florida, New York, Pennsylvania,

25   Virginia, and Wisconsin.

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1           4.42    On or about July 12, 2019, LTA sent form demand letter A to 18 target companies

2    located in Alabama, California,       Colorado, Connecticut, Florida, Minnesota, Missouri,

3    New York, Ohio, Oklahoma, Rhode Island, South Carolina, Tennessee, and Wisconsin, form

4    demand letter B to one target company located in California, and form demand letter C to 23

5    target companies located in Alabama, California, Connecticut, Florida, Hawaii, Maryland,

6    Maine, Michigan, Minnesota, Missouri, North Carolina, New York, Ohio, and Wisconsin.

7           4.43    On or about July 19, 2019, LTA sent form demand letter A to 18 target companies

8    located in California, Georgia, Illinois, Indiana, Maryland, Michigan, Minnesota, New Jersey,
9    New Mexico, New York, Ohio, Oklahoma, Utah, Vermont, and Wisconsin, and form demand
10   letter B to five target companies located in California, Florida, Illinois, and Massachusetts.
11          4.44    On or about July 26, 2019, LTA sent form demand letter A to 18 target companies
12   located in Alabama, California, Georgia, Illinois, Indiana, Maryland, Michigan, Minnesota,
13   North Carolina, New Jersey, New York, Ohio, Pennsylvania, Vermont, and Wisconsin, form
14   demand letter B to five target companies located in California, Indiana, North Carolina, and
15   Nevada, and form demand letter C to 17 target companies located in Alabama, California,
16   Colorado, Florida, Iowa, Maryland, Maine, Minnesota, Nebraska, Nevada, New York, Ohio,
17   Pennsylvania, Tennessee, and Wisconsin.
18          4.45    In total, LTA sent 128 demand letters in July 2019.

19          August 2019

20          4.46    On or about August 2, 2019, LTA sent form demand letter A to 18 target

21   companies located in California,       Illinois,   Kentucky, Maryland, Minnesota, Missouri,

22   North Carolina, New Hampshire, New York, Ohio, Pennsylvania, Utah, Virginia, and

23   Wisconsin, form demand letter B to five target companies located in Colorado, Georgia, Illino is,

24   and North Carolina, and form demand letter C to 17 target companies located in California,

25   Connecticut, Florida, Illinois, Maryland, Minnesota, Missouri, North Carolina, New York, Ohio,

26   Oklahoma, Pennsylvania, Virginia, Vermont, and Wisconsin.

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1            4.47     On or about August 9, 2019, LTA sent form demand letter A to 18 target

2    companies located in Arizona, California, Illinois, Michigan, Minnesota, Missouri, New Jersey,

3    New York, Ohio, Pennsylvania, Tennessee, Virginia, Vermont, and Wisconsin, form demand

4    letter B to five target companies located in Colorado, Georgia, Indiana, Massachusetts and

5    North Carolina, and form demand letter C to 18 target companies located in Alabama, California,

6    Colorado,      Connecticut,   Florida,   Minnesota,   Missouri,   New York, Ohio,          Oklahoma,

7    Rhode Island, South Carolina, Tennessee, and Wisconsin.

8            4.48     On or about August 16, 2019, LTA sent form demand letter A to 18 target
9    companies located in California, Florida, Illinois, Indiana, Maryland, Maine, Michigan,
10   Minnesota, Missouri, North Carolina, New Jersey, New York, Ohio, South Carolina, Wisconsin,
11   form demand letter B to five target companies located in California, Indiana, Massachusetts,
12   Minnesota, and Tennessee, and form demand letter C to 18 target companies located in
13   California,    Georgia,   Illinois,   Indiana, Maryland,   Michigan,     Minnesota,     New Jersey,
14   New Mexico, New York, Ohio, Oklahoma, Utah, Vermont, and Wisconsin.
15           4.49     On or about August 23, 2019, LTA sent form demand letter A to 18 target
16   companies located in Arizona, California, Colorado, Connecticut, Florida, Georgia, Illino is,
17   Kansas, Louisiana, Maine, Missouri, New Jersey, New York, Ohio, Pennsylvania, and
18   Wisconsin, form demand letter B to five target companies located in California, Colorado,

19   Indiana, Massachusetts, and Wisconsin, and form demand letter C to 17 target companies located

20   in Alabama, California, Georgia, Illinois, Maryland, Michigan, Minnesota, North Carolina,

21   New Jersey, New York, Ohio, Pennsylvania, Vermont, and Wisconsin.

22           4.50     On or about August 30, 2019, LTA sent form demand letter A to one target

23   company located in Tennessee.

24           4.51     In total, LTA sent 163 demand letters in August 2019.

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1           September 2019

2           4.52   On or about September 6, 2019, LTA sent form demand letter A to 10 target

3    companies located in Illinois, Massachusetts, Michigan, Minnesota, New Jersey, New York,

4    Ohio, Pennsylvania, and Wisconsin.

5           4.53   On or about September 13, 2019, LTA sent form demand letter A to 10 target

6    companies located in Connecticut, Georgia, Illinois, Minnesota, New Jersey, New York, Ohio,

7    Pennsylvania, and Wisconsin.

8           4.54   On or about September 20, 2019, LTA sent form demand letter A to 15 target
9    companies located in Arizona, Florida, Illinois, Kentucky, Massachusetts, Michigan, Missouri,
10   North Carolina, New Jersey, New York, Ohio, Pennsylvania, Virginia, Wisconsin, and form
11   demand letter C to 29 target companies located in Arizona, Illinois, Kentucky, Maryland,
12   Michigan, Minnesota, Missouri, North Carolina, New Hampshire, New Jersey, New York, Ohio,
13   Pennsylvania, Tennessee, Virginia, Vermont, and Wisconsin.
14          4.55   On or about September 27, 2019, LTA sent form demand letter A to 15 target
15   companies located in Connecticut, Florida, Illinois, Massachusetts, Michigan, Minnesota,
16   Missouri, North Carolina, New Jersey, New York, Ohio, Tennessee, and Wisconsin, and form
17   demand letter C to 31 target companies located in Arizona, Connecticut, Florida, Georgia,
18   Illinois, Indiana, Kansas, Louisiana, Maryland, Maine, Michigan, Minnesota, Missouri,

19   North Carolina, New Jersey, New York, Ohio, Pennsylvania, South Carolina, and Wisconsin.

20          4.56   In total, LTA sent 110 demand letters in September 2019.

21          October 2019

22          4.57   On or about October 4, 2019, LTA sent form demand letter A to 15 target

23   companies located in Florida, Georgia, Illinois, Massachusetts, Minnesota, Mississipp i,

24   Nebraska, New Jersey, New York, Ohio, Pennsylvania, and Wisconsin, and form demand

25   letter C to 25 target companies located in Alabama, Arizona, Connecticut, Georgia, Idaho,

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1    Illinois, Indiana, Massachusetts, Michigan, Minnesota, North Carolina, New Jersey, New York,

2    Ohio, Pennsylvania, Tennessee, and Wisconsin.

3           4.58    On or about October 11, 2019, LTA sent form demand letter A to 15 target

4    companies located in Arizona, Florida, Illinois, Michigan, Minnesota, North Carolina, Nebraska,

5    New Jersey, New York, and Ohio, and form demand letter C to 10 target companies located in

6    Connecticut, Georgia, Illinois, Minnesota, New Jersey, New York, Ohio, Pennsylvania, and

7    Wisconsin.

8           4.59    On or about October 18, 2019, LTA sent form demand letter A to 15 target
9    companies located in Florida, Illinois, Maryland, Minnesota, Mississippi, North Carolina,
10   New Jersey, New York, Ohio, Rhode Island, Utah, Vermont, and Wisconsin, and form demand
11   letter C to 14 target companies located in Arizona, Florida, Illinois, Kentucky, Massachusetts,
12   Michigan, Missouri, North Carolina, New Jersey, New York, Ohio, Virginia, and Wisconsin.
13          4.60    On or about October 25, 2019, LTA sent form demand letter A to 10 target
14   companies located in Florida, Illinois, Minnesota, North Carolina New Jersey, New York, Ohio,
15   and Utah, form demand letter B to eight target companies located in Arizona, Florida, Georgia,
16   Massachusetts, New Hampshire, New York, and South Carolina, and form demand letter C to
17   14 target companies located in Connecticut, Florida, Illinois, Massachusetts, Michigan,
18   Minnesota, Missouri, New Jersey, New York, Ohio, Tennessee, and Wisconsin.

19          4.61    In total, LTA sent 126 demand letters in October 2019.

20          November 2019

21          4.62    On or about November 1, 2019, LTA sent form demand letter A to 10 target

22   companies located in Florida, Illinois, Indiana, Massachusetts, North Carolina, New Jersey,

23   New York, Ohio, and South Carolina, form demand letter B to eight target companies located in

24   Indiana, Massachusetts, Mississippi, North Carolina, New York, and Ohio, and form demand

25   letter C to 15 target companies located in Florida, Georgia, Illinois, Massachusetts, Minnesota,

26   Mississippi, New Jersey, New York, Ohio, Pennsylvania Utah, and Wisconsin.

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1           4.63   On or about November 8, 2019, LTA sent form demand letter A to 12 target

2    companies located in Florida, Kentucky, North Dakota, New Jersey, New York, Ohio, and

3    Tennessee, form demand letter B to eight target companies located in Illinois, Indiana,

4    North Carolina, New York, and Ohio, and form demand letter C to 15 target companies located

5    in Arizona, Florida, Illinois, Michigan, Minnesota, North Carolina, Nebraska, New Jersey,

6    New York, and Ohio.

7           4.64   On or about November 15, 2019, LTA sent form demand letter A to 10 target

8    companies located in Alaska, Alabama, Illinois, New York, Ohio, Pennsylvania, Tennessee,
9    Utah, and Wisconsin, and form demand letter C to 15 target companies located in Florida,
10   Illinois, Maryland, Minnesota, Mississippi, North Carolina, New Jersey, New York, Ohio,
11   Rhode Island, Utah, Vermont, and Wisconsin.
12          4.65   On or about November 29, 2019, LTA sent form demand letter A to 10 target
13   companies located in Alabama, Hawaii, Illinois, New Jersey, Nevada, New York, Ohio,
14   Pennsylvania, and Utah, form demand letter B to five target companies located in Georgia,
15   Illinois, Indiana, and New York, and form demand letter C to eight target companies located in
16   Florida, Illinois, Minnesota, New Jersey, New York, Ohio, and Utah.
17          4.66   In total, LTA sent 116 demand letters in November 2019.
18          December 2019

19          4.67   On or about December 6, 2019, LTA sent form demand letter A to 14 target

20   companies located in Alabama, Arkansas, Arizona, Delaware, Florida, Iowa, Illinois, Michigan,

21   Minnesota, Missouri, Nebraska, Nevada, Oklahoma, and Wisconsin, form demand letter B to

22   five target companies located in Indiana, Nevada, Pennsylvania, and Tennessee, and form

23   demand letter C to 14 target companies located in Florida, Illinois, Indiana, Kentucky,

24   Massachusetts, North Dakota, New Jersey New York, and Ohio.

25          4.68   In total, LTA sent 33 demand letters in December 2019.

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1           January 2020

2           4.69    On or about January 3, 2020, LTA sent form demand letter A to 10 target

3    companies located in Arkansas, Arizona, Florida, Nevada, New York, Ohio, Pennsylvania,

4    Tennessee, Utah, and Wisconsin, form demand letter B to five target companies located in

5    Illinois, Massachusetts, North Carolina, Ohio, and Utah, and form demand letter C to 20 target

6    companies located in Alaska, Alabama, Hawaii, Illinois, New Jersey, Nevada, New York, Ohio,

7    Pennsylvania, Tennessee, Utah, and Wisconsin.

8           4.70    On or about January 10, 2020, LTA sent form demand letter A to 15 target
9    companies located in Florida, Georgia, Indiana, Kentucky, Maryland, Michigan, Minnesota,
10   Nevada, New York, Ohio, Utah, and Wisconsin, form demand letter B to five target companies
11   located in Idaho, Kentucky, Massachusetts, Pennsylvania, Tennessee, and form demand letter C
12   to 14 target companies located in Alabama, Arkansas, Arizona, Delaware, Florida, Iowa, Illinois,
13   Michigan, Minnesota, Missouri, Nebraska, Nevada, Oklahoma, and Wisconsin.
14          4.71    On or about January 17, 2020, LTA sent form demand letter A to 15 target
15   companies located in Florida, Iowa, Illinois, Indiana, Kansas, Kentucky, Maryland, Maine,
16   New York, Ohio, South Carolina, Tennessee, Utah, and Wisconsin, and form demand letter B to
17   five target companies located in Georgia, Illinois, Indiana, Michigan, and Tennessee.
18          4.72    On or about January 24, 2020, LTA sent form demand letter A to 10 target

19   companies located in Arizona, Florida, Illinois, Michigan, Minnesota, New York, Ohio,

20   Pennsylvania, Utah, and Wisconsin, and form demand letter B to five target companies located

21   in Georgia, Illinois, Kentucky, Tennessee, and Wisconsin.

22          4.73    On or about January 31, 2020, LTA sent form demand letter A to 10 target

23   companies located in L, Georgia, Illinois, Michigan, Minnesota, New Jersey, New York, Ohio,

24   Tennessee, and Virginia, form demand letter B to five target companies located in Connecticut,

25   Florida, North Dakota, New York, and West Virginia, and form demand letter C to nine target

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1    companies located in Arkansas, Arizona, Florida, Nevada, New York, Pennsylvania, Tennessee,

2    Utah, and Wisconsin.

3           4.74    In total, LTA sent 128 demand letters in January 2020.

4           February 2020

5           4.75    On or about February 7, 2020, LTA sent form demand letter A to 10 target

6    companies located in Florida, Georgia, Illinois, Indiana, Mississippi, New Jersey, Pennsylvania,

7    Utah, Virginia, and Wisconsin, form demand letter B to five target companies located in

8    Kentucky, Michigan, Nebraska, and Pennsylvania, and form demand letter C to 15 target
9    companies located in Florida, Georgia, Indiana, Kentucky, Maryland, Michigan, Minnesota,
10   Nevada, New York, Ohio Utah, and Wisconsin.
11          4.76    On or about February 14, 2020, LTA sent form demand letter A to 10 target
12   companies located in Arizona, Florida, Georgia, Illinois, Michigan, New Jersey, New York,
13   Ohio, Utah, and Wisconsin, form demand letter B to five target companies located in Kentucky,
14   Oklahoma, Pennsylvania, and Virginia, and form demand letter C to 15 target companies located
15   in Florida, Iowa, Illinois, Indiana, Kansas, Kentucky, Maryland, Maine, New York, Ohio,
16   South Carolina, Tennessee, Utah, and Wisconsin.
17          4.77    On or about February 21, 2020, LTA sent form demand letter A to 10 target
18   companies located in Florida, Georgia, Massachusetts, Michigan, Minnesota, New Jersey, Ohio,

19   Pennsylvania, Virginia, and Wisconsin, form demand letter B to five target companies located

20   in Georgia, Idaho, Kentucky, North Carolina, and Pennsylvania, and form demand letter C to 10

21   target companies located in Arizona, Florida, Illinois, Michigan, Minnesota, New York, Ohio,

22   Pennsylvania, Utah, and Wisconsin.

23          4.78    On or about February 28, 2020, LTA sent form demand letter A to 10 target

24   companies located in Florida, Massachusetts, Michigan, Minnesota, New York, Ohio,

25   Pennsylvania, Tennessee Virginia, and Wisconsin, form demand letter B to five target companies

26   located in Arizona, Illinois, Mississippi, Tennessee, and Utah, and form demand letter C to 10

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1    target companies located in Florida, Georgia, Illinois, Michigan, Minnesota, New Jersey, Ohio,

2    Tennessee, and Virginia.

3           4.79      In total, LTA sent 110 demand letters in February 2020.

4           March 2020

5           4.80      On or about March 6, 2020, LTA sent form demand letter A to 10 target

6    companies located in Florida, Massachusetts, Michigan, Missouri, North Carolina, New Jersey,

7    New York, Pennsylvania, Tennessee, and Utah, form demand letter B to five target companies

8    located in Florida, Kentucky, Maryland, Michigan, and North Carolina, and form demand
9    letter C to 10 target companies located in Florida, Georgia, Illinois, Indiana, Mississipp i,
10   New Jersey, Pennsylvania, Utah, Virginia, and Wisconsin.
11          4.81      On or about March 13, 2020, LTA sent form demand letter A to 10 target
12   companies located in Florida, Illinois, Michigan, Missouri, North Carolina, New Jersey,
13   New York, Oklahoma, Tennessee, and Utah, form demand letter B to five target companies
14   located in Arizona, Iowa, Kentucky, Louisiana, and New Jersey, and form demand letter C to
15   eight target companies located in Florida, Georgia, Illinois, Michigan, New York, Ohio, Utah,
16   and Wisconsin.
17          4.82      In total, LTA sent 48 demand letters in March 2020.
18          May 2020

19          4.83      On or about May 15, 2020, LTA sent form demand letter A to 10 target companies

20   located in Florida, Illinois, Massachusetts, Maryland, Michigan, Missouri, North Carolina,

21   New Jersey, New York, and South Dakota, form demand letter B to five target companies located

22   in Illinois, Indiana, Michigan, South Dakota, and Wyoming, and form demand letter C to nine

23   target companies located in Florida, Georgia, Massachusetts, Michigan, Minnesota, New Jersey,

24   Pennsylvania, Virginia, and Wisconsin.

25          4.84      On or about May 22, 2020, LTA sent form demand letter A to 10 target companies

26   located in Illinois, Kansas, Maryland, Michigan, Minnesota, Nebraska, New Jersey, Ohio,

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1    Pennsylvania, and Tennessee, form demand letter B to five target companies located in Kansas,

2    Michigan, Minnesota, and South Carolina, and form demand letter C to nine target companies

3    located in Florida, Massachusetts, Michigan, Minnesota, New York, Ohio, Pennsylvania,

4    Tennessee, and Virginia.

5           4.85   On or about May 29, 2020, LTA sent form demand letter A to 10 target companies

6    located in Florida, Georgia, Illinois, Kansas, Kentucky, Massachusetts, Missouri, New Jersey,

7    New York, and Ohio, form demand letter B to five target companies located in Arizona, Iowa,

8    New Jersey, Ohio, and South Carolina, and form demand letter C to nine target companies
9    located in Florida, Massachusetts, Michigan,       Missouri, North Carolina, New Jersey,
10   Pennsylvania, Tennessee, and Utah.
11          4.86   In total, LTA sent 72 demand letters in May 2020.
12          June 2020

13          4.87   On or about June 5, 2020, LTA sent form demand letter A to 10 target companies

14   located in Florida, Iowa, Kansas, Massachusetts, Missouri, North Carolina, New Hampshire,

15   New Jersey, New York, and Pennsylvania, form demand letter B to five target companies located

16   in Arizona, Maryland, Minnesota, Ohio, and Tennessee, and form demand letter C to nine target

17   companies located in Florida, Illinois, Michigan, North Carolina, New Jersey, New York,

18   Oklahoma, Tennessee, and Utah.

19          4.88   On or about June 12, 2020, LTA sent form demand letter A to 10 target companies

20   located in Florida, Iowa, Massachusetts, Missouri, New Jersey, New York, Ohio, Pennsylvania,

21   and Virginia, form demand letter B to five target companies located in Connecticut, Illino is,

22   New Jersey, Pennsylvania, and South Carolina, and form demand letter C to 10 target companies

23   located in Florida, Illinois, Massachusetts, Maryland, Michigan, Missouri, North Carolina,

24   New Jersey, New York, and South Dakota.

25          4.89   On or about June 19, 2020, LTA sent form demand letter A to 10 target companies

26   located in Arizona, Florida, Georgia, Illinois, Massachusetts, North Carolina, New Jersey,

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1    New York, and South Carolina, form demand letter B to five target companies located in

2    Georgia, Missouri, North Carolina, New Hampshire, and Pennsylvania, and form demand

3    letter C to 10 target companies located in Illinois, Kansas, Maryland, Michigan, Minnesota,

4    Nebraska, New Jersey, Ohio, Pennsylvania, and Tennessee.

5           4.90     On or about June 26, 2020, LTA sent form demand letter A to nine target

6    companies located in Florida, Massachusetts, Missouri, North Carolina, New Jersey, New York,

7    and Pennsylvania, form demand letter B to five target companies located in Georgia, Illino is,

8    Louisiana, New Jersey, and Rhode Island, and form demand letter C to 10 target companies
9    located in Florida, Georgia, Illinois, Kansas, Kentucky, Massachusetts, Missouri, New Jersey,
10   New York, and Ohio.
11          4.91     In total, LTA sent 98 demand letters in June 2020.
12          July 2020

13          4.92     On or about July 3, 2020, LTA sent form demand letter A to 10 target companies

14   located in Arizona, Florida, Kansas, Massachusetts, Michigan, North Carolina, New Jersey,

15   New York, and Ohio, form demand letter B to five target companies located in Illinois, Indiana,

16   Pennsylvania, and Tennessee, and form demand letter C to 10 target companies located in

17   Florida, Iowa, Kansas, Massachusetts, Missouri, North Carolina, New Hampshire, New Jersey,

18   New York, and Pennsylvania.

19          4.93     On or about July 10, 2020, LTA sent form demand letter A to 10 target companies

20   located in Florida, Illinois,    Indiana, Minnesota, New Jersey, New York, Oklahoma,

21   Pennsylvania, and Wisconsin, form demand letter B to five target companies located in Alabama,

22   Maine, Minnesota, Montana, and North Dakota, and form demand letter C to nine target

23   companies located in Florida, Iowa, Massachusetts, New Jersey, New York, Ohio, Pennsylvania,

24   and Virginia.

25          4.94     On or about July 17, 2020, LTA sent form demand letter A to 10 target companies

26   located in Arizona, Florida, Idaho, Illinois, Michigan, Minnesota, Missouri, New York, and

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1    Ohio, form demand letter B to two target companies located in Michigan and Mississippi, and

2    form demand letter C to nine target companies located in Arizona, Florida, Georgia, Illino is,

3    Massachusetts, North Carolina, New Jersey, New York, and South Carolina.

4           4.95    On or about July 24, 2020, LTA sent form demand letter A to 10 target companies

5    located in Florida, Illinois, Massachusetts, New Mexico, New York, Ohio, Oklahoma,

6    Rhode Island, and British Columbia, form demand letter B to five target companies located in

7    Arkansas, Illinois, Louisiana, Pennsylvania, and Wisconsin, and form demand letter C to nine

8    target companies located in Florida, Massachusetts, Missouri, North Carolina, New Jersey,
9    New York, and Pennsylvania.
10          4.96    In total, LTA sent 93 demand letters in June 2020.
11          2.      Litigation
12          4.97    LTA periodically sues target companies that refuse to pay. Since January 2019,
13   LTA has filed 16 patent infringement lawsuits, including five against Washington companies.
14          4.98    Companies that receive demand letters from LTA also periodically file suit,
15   seeking a declaration of non-infringement. Since January 2019, 11 such suits have been filed
16   against LTA.
17          4.99    LTA invariably seeks to settle all litigation quickly, whether initiated by itself or
18   by a target company. Of the 27 lawsuits filed by or against LTA since January 2019, only four

19   remain pending, with the vast majority settling within a few months of filing.

20          4.100 Four Washington companies have settled with LTA for payment of licensing fees

21   between $15,000 and $20,000 each.

22   B.     The ‘508 Patent
23          4.101 LTA asserts, in its demand letters, that target companies are infringing upon U.S.

24   Patent No. 7,010,508 (“the ’508 Patent”).

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1           4.102 The ‘508 patent was issued on March 7, 2006, to Lawrence B. Lockwood, as

2    inventor. Lockwood filed the patent application in 1995 as a continuation of other patent

3    applications—most of which he abandoned—dating back to 1984.

4           4.103 Lockwood owns Landmark Technology, a predecessor-in-interest to LTA. LTA

5    claims it obtained enforcement rights in the ‘508 patent, however no assignment was filed with

6    the Patent and Trademark Office (PTO), and LTA refused to produce any licensing or other

7    agreement in pre-suit discovery.

8           4.104 The ‘508 patent is titled “Automated Multimedia Data Processing Network,” and
9    claims to patent the abstract idea of automated data processing of business transactions between
10   remote computer terminals. Lockwood’s application for the ‘508 patent was twice rejected by
11   PTO patent examiners.
12          4.105 The Abstract for the ‘508 patent provides as follows:
13          A system for filing applications with an institution from a plurality of remote
            sites, and for automatically processing said applications in response to each
14          applicant’s credit rating obtained from a credit reporting service comprising a
            series of self-service terminals remotely linked via a telephone line to a first
15          computer at the institution and to a second computer at the credit reporting service
16          headquarters. Each remote terminal comprises a video screen and a video
            memory which holds image-and-sound-generating information arranged to
17          simulate the aspect and speech of an application loan officer on the video screen.
            The simulated loan officer is used to acquire loan request data from the applicant
18          by guiding him through an interactive sequence of inquiries and answers. The
            system may be utilized as a trading network whereby stations are used by sellers
19          and buyers to place and accept offers for securities, the central installation acting
20          as a central computerized database where all transactions are processed and the
            various data items stored and automatically updated.
21
            4.106 The Background of the Invention for the ‘508 patent provides as follows:
22
            The present invention relates to automatic self-operated terminals, vending
23          machines, and interactive data processing networks. More specifically, this
            invention relates to terminals used by banking and other financial institutions to
24          make their services available at all hours of the day from various remote
            locations.
25

26

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1         Loan processing has traditionally been a labor-intensive business which
          represents the major activity of banks and other financial institutions. In the
2         processing of a loan application, numerous forms have to be filled-out, loan
3         officers have to explain payment schedules and generally guide the applicant
          through the loan application process. The financial institution then has to process
4         the application and either telephone, mail, or communicate acceptance or
          rejection of the loan in person to the applicant. The complexity of the process has
5         so far prevented the application of automatic terminals to this important part of
          financial institution activities. Automatic vending machines and self-service
6         terminals have evolved to a high degree of sophistication as disclosed in U.S. Pat.
7         No. 4,359,631 Lockwood, et al. Yet, this high degree of sophistication has not
          been put to use in the more complex types of goods and services distribution
8         which requires a great deal of interaction between individuals or between
          individuals and institutions.
9
          4.107 The Summary of the Invention for the ‘508 patent provides as follows:
10
          The principal object of this invention is to provide an economical means for
11        screening loan applications. When one considers that up to 75% of persons
          applying for loans fail to meet the financial institution qualification criteria, one
12
          realizes that a great deal of labor is required by loan officers before a qualified
13        applicant presents himself.

14        Another object of the invention is to standardize the reporting and interpretation
          of credit ratings and their application to loan application processing.
15
          A further object of the invention is to reduce the amount of paperwork and
16        processing time required by each loan application.
17
          It is also an object of the invention to offer a more personal way to apply for
18        credit. Many applicants who would not hesitate to use a mechanical device to
          place their inquiry are reluctant to inquire about loans requiring face-to-face
19        interaction with a loan officer.

20        These and other objects are achieved by means of a system that ties together
          financial institution data processing, the computer services of a credit reporting
21        bureau, and a plurality of remote terminals. Each remote terminal displays the
22        live image of a fictitious loan officer who helps the applicant through an
          interactive series of questions and answers designed to solicit from the applicant
23        all the information necessary to process his loan application. The terminal can
          acquire credit rating information about the applicant from the credit reporting
24        bureau and make a decision based on all the information gathered about the credit
          worthiness of the applicant and the amount of loan to which he is entitled. The
25        loan amount is then communicated to the applicant and to the financial institution
26        for further processing of the loan.

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1             4.108 LTA does not target financial institutions that might be expected to make use of

2    loan processing technologies. Rather, the companies targeted by LTA run the gamut of

3    industries. For example, in just one month (July 2020), LTA sent demand letters to businesses

4    in the following industries: air and oil filters; apparel; appliances; automotive supplies; building

5    supplies; candy; college housing supplies; consumer electronics; custom vehicles; department

6    stores; event ticketing; fabrics; florist; fluid connectors; food service; furniture; grocery;

7    hardware; headsets; health and beauty; HVAC; industrial supplies; inventory management;

8    jewelry; kitchen products; manufactured housing; material handling; mattress; paper; pet
9    products; petroleum; pharmacy services; pipe distributor; printers; sales and marketing; salon
10   supplies; scientific laboratory supplies; seeds; shoes; sporting goods; steam cleaners; and, water
11   supplies.
12            4.109 The webpages LTA alleges are infringing in its demand letters are unrelated to
13   loans, loan processing, or credit reporting. The majority of demand letters sent by LTA identify
14   a simple, customer log-in page on a company website as infringing the ‘508 patent. LTA’s
15   demand letters also identify the following types of webpages as infringing: company home
16   pages, shopping cars, products pages, privacy practices, new customer registration, and ordering
17   pages.
18                                  V.      FIRST CAUSE OF ACTION

19               (Violation of RCW ch. 19.86 – Per Se Acts or Practices Based on Violation
                                           of RCW ch. 19.350)
20

21            5.1      The State realleges and incorporates by reference the allegations set forth in each

22   of the preceding paragraphs of this Complaint.

23            5.2      The Attorney General may bring an action in the name of the State, or as parens

24   patriae on behalf of persons residing in the State, against any person to restrain and prevent the

25   doing of any act prohibited by the Consumer Protection Act, RCW ch. 19.86 (“CPA”) or declared

26   to be unlawful.

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1            5.3    To establish a violation of the CPA in an action brought by the Attorney General,

2    the State must prove that a defendant committed an unfair or deceptive act or practice, occurring

3    in trade or commerce, and public interest impact. Causation and harm are not elements of a CPA

4    action brought by the Attorney General.

5            5.4    The Attorney General may bring an action in the name of the state, or as parens

6    patriae on behalf of persons residing in the State, to enforce the Patent Troll Prevention Act,

7    RCW ch. 19.350.

8            5.5    The practices covered by the PTPA are matters vitally affecting the public interest
9    for the purpose of applying the CPA in an action brought by the Attorney General, and a violation
10   of the PTPA is an unfair or deceptive act in trade or commerce for purposes of applying the
11   CPA.
12           5.6    The PTPA prohibits persons from making assertions of patent infringement in
13   bad faith.
14           5.7    Defendant Landmark Technology A, LLC (“LTA”) is a “person” under the
15   applicable statutory definition of that term.
16           5.8    Under the PTPA, the Court may consider a number of “nonexclusive factors” as
17   evidence that a person has made an assertion of patent infringement in bad faith, as well as “[a]ny
18   other factor the court determines to be relevant.”

19           5.9    The conduct described in the foregoing allegations establishes that LTA made

20   assertions of patent infringement in bad faith under the PTPA, including (i) issuing form demand

21   letters to target companies that do not contain factual allegations specific to target company

22   products, services, or technology, (ii) failing to conduct analysis comparing patent claims to

23   target companies’ products, services, or technology before making demands, (iii) making false,

24   misleading, or deceptive statements in demand letters concerning the existence, prominence,

25   scope and licensing price of LTA’s asserted patent rights, and (iv) making identical infringement

26   allegations against hundreds of companies, on the basis of absurdly overbroad patent assertions.

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1           5.10    Under the PTPA, the Court may also consider a number of “nonexclusive factors”

2    as evidence that a person has made an assertion of patent infringement in good faith, as well as

3    “[a]ny other factor the court determines to be relevant.”

4           5.11    The conduct described in the foregoing allegations establishes that LTA did not

5    make assertions of patent infringement in good faith under the PTPA, including (i) failing to

6    engage in reasonable analysis to establish a reasonable, good faith basis for believing target

7    companies were infringing, (ii) failing to negotiate an appropriate remedy for its infringement

8    assertions in a reasonable manner, (iii) failing to demonstrate reasonable business practices in
9    efforts to enforce the ‘508 patent, (iv) failing to demonstrate the merits of its infringement
10   assertions through litigation, and (v) failing to make any substantial investment in the use or
11   commercialization of the ‘508 patent.
12          5.12    To the extent the Court finds that to avoid preemption the State must show, in
13   addition to the elements of a claim under the PTPA brought by the Attorney General, that “bad
14   faith” under applicable federal patent law must be pleaded (which is not alleged), the foregoing
15   allegations demonstrate a pattern or practice of successive patent infringement assertions by
16   LTA, which were made without regard to the merits of such assertions, and therefore constitute
17   “bad faith.” See California Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508,
18   92 S. Ct. 609, 612, 30 L. Ed. 2d 642 (1972); USS-POSCO Indus. v. Contra Costa Cty. Bldg. &

19   Const. Trades Council, AFL-CIO, 31 F.3d 800 (9th Cir. 1994).

20          5.13    To the extent the Court finds that to avoid preemption the State must show, in

21   addition to the elements of a claim under the PTPA brought by the Attorney General, that “bad

22   faith” under applicable federal patent law must be pleaded, and that the test applicable to a single

23   proceeding or assertion is applicable (which is not alleged), the foregoing allegations

24   demonstrate that LTA made assertions of patent infringement that were, in the first place,

25   objectively baseless, and in the second place, made in subjective bad faith. See Professional Real

26   Estate Investors, Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 113 S. Ct. 1920,

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1    123 L. Ed. 2d 611 (1993); Globetrotter Software, Inc. v. Elan Computer Grp., Inc.,

2    362 F.3d 1367 (Fed. Cir. 2004). Specifically with respect to objective baselessness, LTA’s

3    misrepresentations regarding the scope and value of the ‘508 patent are objectively baseless, and

4    the ‘508 patent’s invalidity likewise renders LTA’s infringement assertions objectively baseless.

5            5.14      To the extent the Court finds that to avoid preemption the State must show, in

6    addition to the elements of a claim under the PTPA brought by the Attorney General, that “bad

7    faith” under applicable federal patent law must be pleaded (which is not alleged), the allegations

8    set forth under this cause of action are supported by clear and convincing evidence.
9                                  VI.     SECOND CAUSE OF ACTION
10                 (Violation of RCW ch. 19.86 – Unfair or Deceptive Acts or Practices )
11           6.1       The State realleges and incorporates by reference the allegations set forth in each of
12   the preceding paragraphs of this Complaint.
13           6.2       The Attorney General may bring an action in the name of the State, or as parens
14   patriae on behalf of persons residing in the State, against any person to restrain and prevent the
15   doing of any act prohibited by the Consumer Protection Act, RCW ch. 19.86 (“CPA”) or declared
16   to be unlawful.
17           6.3       Landmark Technology A, LLC (“LTA”) is a “person” under the applicable statutory
18   definition of that term.

19           6.4       To establish a violation of the CPA in an action brought by the Attorney General,

20   the State must prove that a defendant committed an unfair or deceptive act or practice, occurring in

21   trade or commerce, and public interest impact. Causation and harm are not elements of a CPA action

22   brought by the Attorney General.

23           6.5       The conduct described in the foregoing allegations establishes that LTA has

24   committed unfair or deceptive acts or practices under the CPA, including making bad faith

25   assertions of patent infringement, and making deceptive statements in demand letters concerning

26   the existence, prominence, scope and licensing price of LTA’s asserted patent rights.

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1            6.6     The unfair or deceptive acts and practices described in the foregoing paragraphs

2    were committed by Landmark in the course of trade or commerce.

3            6.7     The unfair or deceptive acts and practices described in the foregoing paragraphs

4    affected the public interest.

5            6.8     To the extent the Court finds that to avoid preemption the State must show, in

6    addition to the elements of a claim under the PTPA brought by the Attorney General, that “bad

7    faith” under applicable federal patent law must be pleaded (which is not alleged), the foregoing

8    allegations demonstrate a pattern or practice of successive patent infringement assertions by LTA,
9    which were made without regard to the merits of such assertions, and therefore constitute “bad
10   faith.” See California Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 92 S. Ct. 609, 612,
11   30 L. Ed. 2d 642 (1972); USS-POSCO Indus. v. Contra Costa Cty. Bldg. & Const. Trades Council,
12   AFL-CIO, 31 F.3d 800 (9th Cir. 1994).
13           6.9     To the extent the Court finds that to avoid preemption the State must show, in
14   addition to the elements of a claim under the PTPA brought by the Attorney General, that “bad
15   faith” under applicable federal patent law must be pleaded, and that the test applicable to a single
16   proceeding or assertion is applicable (which is not alleged), the foregoing allegations demonstrate
17   that LTA made assertions of patent infringement that were, in the first place, objectively baseless,
18   and in the second place, made in subjective bad faith. See Professional Real Estate Investors, Inc.

19   v. Columbia Pictures Indus., Inc., 508 U.S. 49, 113 S. Ct. 1920, 123 L. Ed. 2d 611 (1993);

20   Globetrotter Software, Inc. v. Elan Computer Grp., Inc., 362 F.3d 1367 (Fed. Cir. 2004).

21   Specifically with respect to objective baselessness, LTA’s misrepresentations regarding the scope

22   and value of the ‘508 patent are objectively baseless, and the ‘508 patent is invalid.

23           6.10    To the extent the Court finds that to avoid preemption the State must show, in

24   addition to the elements of a claim under the PTPA brought by the Attorney General, that “bad

25   faith” under applicable federal patent law must be pleaded (which is not alleged), the allegations

26   set forth under this cause of action are supported by clear and convincing evidence.

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1                                       VII.    PRAYER FOR RELIEF

2            Wherefore, the State prays for the following relief:

3            7.1       Injunctive relief enjoining LTA from taking any actions to enforce the ‘508 patent,

4    including issuing demand letters and/or filing patent infringement lawsuits.

5            7.2       Restitution of all money and/or property acquired by LTA as a result of its unlawful

6    acts, as well as restitution of all amounts paid to LTA by target companies, and all amounts incurred

7    by target companies responding to, or defending against, LTA’s unlawful demands.

8            7.3       Civil penalties for each violation of the PTPA and/or CPA committed by LTA, in
9    the maximum amount permitted by law.
10           7.4       Attorneys’ fees and costs incurred by the State during the investigation and litigation
11   of this matter.
12           7.5               Such other relief as the Court deems just and proper.
13           DATED this 11th day of May, 2021.
14                                                     ROBERT W. FERGUSON
                                                       Attorney General
15

16
                                                       s/Seann Colgan
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